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 March 13, 2025


 VIA EMAIL
 Stewart Weinberg
 President, Berkely Charter Education Association stewartweinberg@me.com

         Re:       Alleged Breach of Management Agreement

 Dear Stewart:

         This responds to your purported “Notice to Cure,” dated January 13, 2025, in which you claim
 Charter Schools USA at Berkley, LLC (“CSUSA”) has breached its Management Agreements with
Berkely Charter Education Foundation (“BCEA”) for Mevers School of Excellence and Berkely
Preparatory Academy (collectively, the “Schools”). In that letter, you threaten to terminate the
Management Agreements if CSUSA does not agree to “cooperate” with BCEA’s “School Administrator
Personnel Policy,” which purports to require that the School Administrator of each School be an
employee of the BCEA’s board of directors.

         Contrary to your assertions, CSUSA is not in breach. As you know, when the parties signed the
Management       Agreements,      they agreed the School Administrators                would    be CSUSA        employees.   The
Management Agreements thus expressly provide in Article VI.B. that “CSUSA shall have the authority,
consistent with state law, to select and supervise each School Administrator and to hold the School
Administrator accountable for the success of the Charter School.” The parties further explicitly agreed that
CSUSA would consult with the BCEA regarding the selection of the School Administrators, and that
CSUSA would remove the School Administrators if BCEA became reasonably dissatisfied with their
performance—all of which CSUSA has done.

         Direct employment of the School Administrator is a critical term for CSUSA. Without it, CSUSA
would have no control over whether it meets its obligations under the Management Agreements.

         Despite the above, BCEA has persistently attempted to intentionally circumvent the contractual
obligations fully and fairly negotiated by the parties and rewrite the terms agreements to seize control of
the School Administrators. In August, BCEA tried to unilaterally modify the agreements by adopting its
“School Administrator Policy.” But, as we informed you, CSUSA was not willing to agree to that change
because it would fundamentally undermine the terms of the parties’ agreement.

        Further,   your   claim    that BCEA        is acting due       to a concern         about   turnover    among   School
Administrators rings hollow. Turnover alone does not violate the agreement. Nor has BCEA identified
any performance issues directly resulting in the change of administrators.                     If any party is responsible for
the turnover among School Administrators, it is you, not CSUSA.                                 School Administrators have
consistently reported that you—acting as an individual and without any authority granted by the Board
as a whole—have persistently interfered with, and undermined,
their management of the Schools and their staff. It is your actions, not CSUSA’s, that have caused turnover
of school leadership.

         The charter amendments that the Charter Institute at Erskine approved in November do not change
the analysis. Whether it was working in concert with CIE or on its own, the fact remains that BCEA
unilaterally proposed those amendments and asked CIE to approve them in an effort circumvent the terms


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of the agreements. Every contract incorporates an implied promise that the parties will act in good faith
and not carry out their rights and duties in a manner that impedes the other’s performance. BCEA violated
that principle—and thus the Management Agreements themselves—by soliciting charter amendments that
altered the agreements’ material terms.

            Moreover, BCEA’s use of CIE to justify its position creates even bigger exposure to both BCEA
and CIE. As you know, numerous parties have now accused CIE of abusing its position as Sponsor to
tortiously interfere with management companies’ contracts so CIE can sell its own, competing services.
This includes a racketeering lawsuit against CIE brought by BCEA’s own lawyer, Jay Matthews. CIE’s
approval of the charter amendments is just one more step in furtherance of that illegal scheme. This is
evidenced by the fact that on the very same day it approved BCEA’s charter amendments, CIE sent
BCEA a proposal to sell marketing services for the Schools—services that CSUSA already provides
through its Management Agreements. This renders BCEA’s reliance on the charter amendments invalid,
since they were illegally procured. It also exposes BCEA to liability for breach of the Management
Agreements as well as damages for unfair competition, civil conspiracy, and unfair and deceptive trade
practices in conjunction with CIE.

         Finally, although your letter alleges material breach, it is unclear what you believe CSUSA has
actually done to violate terms of the Management Agreements. Even if BCEA could unilaterally modify
its contracts and require that School Administrators must be Board employees—which                                   it cannot—that
would not mean CSUSA                is required to “transfer” the administrators it currently employs to BCEA.
Obviously, if is BCEA that has chosen to continue the status quo. BCEA has not made any effort to search
for or hire an administrator. Nor has it established payroll, benefits, or any of the apparatus necessary to
directly employ anyone. The fact CSUSA has continued to provide the services BCEA believes are not
required     under the agreements         does not constitute a breach.              Any        attempt   by BCEA     to hire away
CSUSA’s current School Administrators would constitute tortious interference and will be dealt with
accordingly.

           In short, CSUSA is not in breach of the Management Agreements, and BCEA has no legal basis to
demand      or require     that   CSUSA      “cooperate”       with     BCEA’s       efforts      to   supplant    CSUSA’s     School
Administrators. To the contrary, BCEA has blatantly breached the agreements by (i) refusing to abide by
the contractual requirement that School Administrators be CSUSA- employees, (ii) interfering with
CSUSA’s management of the schools and performance of its duties; and (ii) purporting to terminate the
Management Agreements without legal justification. CSUSA therefore demands BCEA immediately
retract    its purported   notice    of breach     and    confirm      it will continue         to honor     and   comply    with   the
Management Agreements as written.

 Sincerely,




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